       Case 3:19-cv-00184-KAD Document 1 Filed 02/06/19 Page 1 of 15



                         UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT

                                            :
JOHN GRANDE                                 :        NO.:

v.                                          :

HARTFORD BOARD OF EDUCATION,                :
JAYMIHALKO, AND CITY OF                     :
HARTFORD                                    :        FEBRUARY 6, 2019


                                NOTICE OF REMOVAL

       To the United States District Court for the District of Connecticut:

       Pursuant to 28 U.S.C. §§ 1441, 1443 and 1446, the defendants, Hartford Board

of Education, Jay Mihalko, and City of Hartford, hereby give notice that they have

removed this action from the Superior Court of Connecticut, Judicial District of Hartford

for the following reasons:

      1.      The plaintiff commenced the instant action against the undersigned

defendants, Hartford Board of Education, Jay Mihalko, and City of Hartford, by service

of a Summons and Complaint dated January 7, 2019. The plaintiff served a copy of

the Summons and Complaint upon the defendants, Hartford Board of Education and

City of Hartford, on January 7, 2019 and served a copy of the Summons and

Complaint upon the defendant, Jay Mihalko on January 8, 2019.

      2.      The action is returnable in the Superior Court for the Judicial District of

Hartford on January 29, 2019.
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        3.     The above-described action is a civil action and is one which may be

removed to the Court by the defendant pursuant to the provisions of Title 28, United

States Code §§1441, 1331 and 1343(3). The Complaint asserts a substantial federal

question for deprivation of rights in alleged violation of 42 U.S.C. § 1983. Additionally,

the Complaint asserts federal questions for alleged discrimination, failure to

accommodate, hostile work environment, and retaliation, in violation of the Americans

with Disabilities Act, 42 U.S.C. § 12101 et seq.

        4.     Attached hereto, in compliance with 28 U.S.C. §1446(a), are complete

and accurate copies of the process and pleadings received by the defendants,

Hartford Board of Education, Jay Mihalko, and City of Hartford.

        5.     The defendants, Hartford Board of Education, Jay Mihalko and City of

Hartford, deny the plaintiff’s material allegations.

        6.     Accordingly, this Court has original jurisdiction of this action under 28

U.S.C. §§1331, 1343(3) and supplemental jurisdiction pursuant to 28 U.S.C. §1367.

The action may be removed to this Court pursuant to 28 U.S.C. §§1441, 1443 and

1446.

         WHEREFORE, the petitioners pray that the above action now pending in the

Superior Court of Hartford be removed therefrom to this Court.




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                                             DEFENDANTS,
                                             HARTFORD BOARD OF EDUCATION,
                                             JAY MIHALKO, AND CITY OF
                                             HARTFORD


                                             By____/s/ Channez M. Rogers_____
                                               David S. Monastersky
                                               ct13319
                                               Channez M. Rogers
                                               ct29753
                                               Howd & Ludorf, LLC
                                               65 Wethersfield Avenue
                                               Hartford, CT 06114
                                               (860) 249-1361
                                               (860) 249-7665 (Fax)
                                               E-Mail: dmonastersky@hl-law.com
                                               E-mail: crogers@hl-law.com



                                   CERTIFICATION

       This is to certify that a copy of the foregoing Notice of Removal was or will
immediately be mailed or delivered electronically or non-electronically on February 6,
2019, to all parties and self-represented parties of record and that written consent for
electronic delivery was received from all attorneys and self-represented parties
receiving electronic delivery.


Paul Keily, Esq.
Keily Mira Law
968 Farmington Avenue, Ste. 208
West Hartford, CT 06107
paul@kmlegalct.com



                                            ____/s/ Channez M. Rogers______
                                            Channez M. Rogers




                                            3
                                  Case 3:19-cv-00184-KAD Document 1 Filed 02/06/19 Page 4 of 15
SUMMONS - CIVIL                                                                                                                           STATE OF CONNECTICUT
JD-CV-1 Rev, 4-10
C.G.S. §§ 51- 346, 51-347, 51- 349, 51-350, 52-45 a,                                                                                         SUPERIOR COURT
52-48, 52-259, P.B. §§ 3-1 through 3-21, 8-1, 10-13

See other side for instructions
rn "X" If amount, legal interest or property in demand, not including interest and
^    costs is less than $2,500          .
[TT] "X" if amount, legal interest or property in demand, not including interest and
     costs is $2,500 or more.
CD "X" if claiming other relief in addition to or in lieu of money or damages.
                                                                                                           legal service                                                                        of
TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and
this Summons and   attached Complaint.
                                                                                                                                                      Return Date ( Must be a Tuesday)
Address of court clerk where writ and other papers shall be filed (Number, street, town and zip code) Telephone number of clerk
(C.G.S. §§ 51-346, 51-350)                                                                            (with area code)

                                                                                                                  ( 860 ) 548-2700                    January                      29 , 2 019
95 Washington Street, Hartford, CT 06106                                                                                                                   jvlonth                 Day         Year

 X | Judicial District                                            At (Town in which writ is returnable) (C.G.S. §§ 51-346, 51-349)                    Case type code (See list on page 2)
                                            G.A.
     Housing Session                        Number:               Hartford                                                                             Major: M                Minor: 90

For the Plaintiffs) please enter the appearance of:
                                                                                                                                                      Juris number (to be entered by attorney only)
Name and address of attorney , law firm or plaintiff if self-represented (Number, street, town and zip code)
 KEILY MIRA LAW                                                                                                                                       305950
 Telephone number (with area code)                                Signature of Plaintiff (If self-represented)
 ( 860 )     251-9552
                                                                                                               Email address for delivery of papers under Section 10-13 (if agreed to)
 The attorney or law firm appearing for the plaintiff, or the plaintiff if
 self-represented, agrees to accept papers (service) electronically In       [x] Yes Q           No            paul@kmlegalct.com
 this case under Section 10-13 of the Connecticut Practice Book.

 Number of Plaintiffs:                           Number of Defendants:                                    ]   Form JD-CV-2 attached for additional parties
                            Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State Zip
                                                                                                                               ;   ;                                 Country, if not USA)
        Parties
                                                                                                                                                                                        P- 01
         First            Name:      JOHN GRANDE
        Plaintiff         Address: 90 BURNHAM DRIVE, WEST HARTFORD, CT                                06110
                                                                                                                                                                                                P-02
       Additional         Name:
        Plaintiff         Address:
                                                                                                                                                                                                D-01
         First            Name: JAY MIHALKO
       Defendant                                                  .
                          Address: 55 CANTERBURY ST , EAST HARTFORD,                             CT 06118
                                                                                                                                                                                                D-02
       Additional         Name:      HARTFORD BOARD OF EDUCATION
       Defendant          Address: 960 MAIN STREET, HARTFORD, CT 06103
                                                                                                                                                                                                D-03
       Additional         Name: CITY OF HARTFORD
       Defendant          Address: 550 MAIN STREET, HARTFORD,                       CT 06103
                                                                                                                                                                                                D-04
       Additional         Name:
       Defendant          Address:

 Notice to Each Defendant
 1. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers
                                                                                                                        states the claims that each plaintiff is making
    against you in this lawsuit.
                                                                                                                     the clerk of the above-named Court at the above
  .
 2 To be notified of further proceedings, you or your attorney must file a form called an "Appearance" with
                                                                                                       is not a hearing  date. You do not have to come to court on the
    Court address on or before the second day after the above Return Date.          The   Return Date
    Return Date unless     you. receive a separate  notice telling  you to come to court  .
                                                                                                                          you by default. The "Appearance" form may be
   .
 3 If you or your attorney do not file a written "Appearance" form on time, a judgment may be entered against
                                                                                                      .
    obtained at the Court address above or at www.jud.ct. gov under "Court Forms "
   .
 4 If you believe that you have insurance that may cover the claim that is being made against you in this lawsuit
                                                                                                                            , you should immediately contact your
                                                                                                          Practice Book    which may be found in a superior court law
    insurance representative. Other action you may have to take is described in          the Connecticut
    library ouan- ilfte at www   .
                                 ‘      w   under  "Court  Rules  . "
 5. If you h ve questions about the &mmons and Complaint, you should talk to an attorney quickly. The Clerk
                                                                                                                            of Court is not allowed to give advice on

              ^
    legal questions.
                              —-— ^
 Signed (Sign and X” prqper box)
                      "                                          77] Commissioner of the    Name of Person Signing at Left                              Date signe "
                                                                                                                                                                                   ^
                                                                                                                                                                                           '




                                                                       H             '
                                                                             Assistant cierk          PAUL KEILY                                                           01/07/2019
                                                                                                                                                                    ForQ0urt Use Only
 If this Summon is signed by a Clerk:
                    ^
 a . The signing has been done so that the Plaintiffs) will not be denied access to the courts.
 b. It is the responsibility of the Plaintiffs) to see that service is made in the manner provided by law                    .
                                                                                                                                 File Date

                                                                                                                            & TltU£                               P     pY     ATTEST:
 c. The Clerk is not permitted to give any legal advice in connection with any lawsuit.
                                                                                                                                                                            SUSS
                                                                                                                           -
                                                                                                            errors or/6mlssi
 d. The Clerk signing this Summons at the request of the Plaintiff(s) Is not responsible in any way for any
     in the Summons, any allegations contained in the Complaint, or the service of the Summons or Complaint.               -                 ^  —
                                                                                                                                   Date                     Docket Number
   I certify I have read and            Si9ned (Self-Represented Plaintiff)
   understand the above:
                                                                                           (Page 1 of 2)
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                                    2
                                     *2019
RETURN DATE:

JOHN GRANDE
                        JANUARY.
                                    ^                                 SUPERIOR COURT

                                                                      J.D. OF HARTFORD

Y.                                                                    AT HARTFORD

HARTFORD BOARD OF EDUCATION,                                          JANUARY 7, 2019
ET AL
                         COMPLAINT

COUNT ONE - HOSTILE WORK ENVIRONMENT - CONNECTICUT FAIR
EMPLOYMENT PRACTICES ACT (“CFEPA”. C.G.S 8 46a-60. et sea . AS TO
DEFENDANT HARTFORD BOARD OF EDUCATION AND CITY OF HARTFORD


        1.     The Plaintiff, John Grande, (“Plaintiff ’), is a Connecticut resident and is, and was,

for all pertinent times herein, employed by the Hartford Board of Education as a physical education

teacher at Noah Webster MicroSociety Magnet School.

       2.      The Defendant, Hartford Board of Education, (“Board”) is an entity in Hartford,

Connecticut with a principal address of 960 Main Street, Hartford, Connecticut.

       3.      The Defendant, Jay Mihalko, (“Mihallco”), for all pertinent time herein, was

Principal of the Noah Webster MicroSociety Magnet School, and was acting as an individual and

as an agent of the Board.

       4.      The Defendant, City of Hartford (“City”), is located at 550 Main Street Hartford,

Connecticut and, for all pertinent times herein, employed the Plaintiff Defendant Mihlako.

       5.      Plaintiff suffers from tinnitus to the extent that he needs to wear headphones (ear

protection) at certain times due to excessive noise.
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          6.    The Board, the City and Mihalko are herein referred to collectively as the

Defendants.

          7.    On or about October 10, 2016, Plaintiff was on cafeteria duty and was wearing his

headphones.

          8.    Milhalko summoned Plaintiff to his office on said date and inquired if Plaintiff had

a doctor’s note, to which Plaintiff replied “no”.

          8.    Mihalko, upon being told Plaintiff had no doctor’s note, became hostile towards

Plaintiff and threatened Plaintiff with discipline for insubordination if Plaintiff continued wearing

his headphones.

          9.    Later that day, Plaintiff emailed Mihalko regarding meeting and stated that he

considered Mihalko’s statement and actions as harassment.

          10.   On or about October II , 2016, Vice Principal Richard Skowronski, (“Skowronski”)

acting pursuant to Mihalko’s directive, told Plaintiff that he could not wear the headphones because

it is a safety hazard.

          11.   Skowronski told Plaintiff that he would follow up with an email, but never did,

telling Plaintiff, the next day, that Mihalko instructed Skowronski not to write an email about this

matter.

          12.   On or about October 12, 2016, Skowronski again told Plaintiff not to wear the

headphones and that the directive came from the administration.

          13.   That day, Plaintiff emailed the VP that he considered the directive to be workplace

harassment.


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        14.    On or about October 13, 2016, Plaintiff obtained a note from his doctor stating that

it is medically necessary for Plaintiff to wear ear protection for loud noises.

       15.     On or about October 20, 2016, Mihalko came to the gym where Plaintiff was

working and told Plaintiff to turn down the music since it was bothersome to the kindergarten

classes across the hallway.

       16.     Later that day, Plaintiff and his teaching partner, Nicholas Popolizio asked the

kindergarten staff members if the music was bothersome to their class. Both kindergarten staff

members denied even hearing the music.

       17.     On or about October 26, 2016 Mihalko came to the gym again, where Plaintiff was

having class, and turned down the music, although it was not loud.

       18.     On or about November 4, 2016, Mihalko again turned down the music in the gym

where Plaintiff was holding class even though the music was not loud.

       19.     Mihalko was doing so to mock Plaintiff.

       20 .    On or about November 23, 2016, Plaintiff went to Mihalko’s office, at Mihalko’s

request, where Mihalko asked Plaintiff if he had followed up with a doctor, to which Plaintiff

replied, “I have a note”.

       21 .    On or about December 14, 2016, Mihalko came to Plaintiffs class to conduct a

‘review of practice’ observation which was apart of Plaintiff s annual evaluation.

       22 .    In said ‘review of practice’, Mihalko rated only one category out of 12 with a rating

of “needs improvement” and wrote several negative comments about Plaintiff.




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       23.     Up until the time of said review, Plaintiff had only received overall

observation/evaluation scores that were rated “effective” to “highly effective”.

       24.     On or about December 31, 2016, subsequent to said observation/evaluation,

Plaintiff sent an email to Mihalko in response to the “needs improvement” rating, then arranged to

file a CHRO complaint.

       25.     On or about February 2, 2017, Plaintiff officially filed a complaint with the CHRO.

       26.     On or about February 16, 2017, Attorney Julia Wilde, counsel for the Hartford

Board of Education, received the Plaintiffs CHRO complaint.

       27.     On or about February 24, 2017, Plaintiff was called to Mihalko’s office, at which

time Plaintiff was told, by Mihalko, that one of two physical education positions was being

eliminated at Noah Webster and that it was the Plaintiffs position that Mihalko was eliminating.

       28.     When Plaintiff asked Mihalko for information about why it was his position being

eliminated, Mihalko repeatedly said, "There are decisions that I have to make to move the school

forward."

       29.      When Plaintiff asked Mihalko to define what "moving the school forward"

meant, Mihalko ended the meeting by saying, "I'm done."

       30.     On or about February 26, 2017, Plaintiff emailed Mihalko regarding the meeting

in which Mihalko eliminated Plaintiff s position at Noah Webster, and again stated that it was

considered harassment.




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        31.      On or about February 27, 2017, Mihalko visited the gymnasium where Plaintiff

was ending a class and told Plaintiff that two students were having some issues of which Plaintiff

handled satisfactorily.

        32.    Shortly after handling the issue with the students, Plaintiff was in his office

meeting with VP Skowronski when Mihalko entered Plaintiffs office, by using his key and told

Plaintiff that he did a good job with the two students and he was putting it down as a "review of

practice. "

        33.      On or about March 3, 2017, Mihalko called Plaintiff to his office for a meeting

with Mihalko and Skowronski and informed Plaintiff that the meeting maybe disciplinary.

        34.       At said meeting on March 3, 2017, Mihalko accused Plaintiff of threatening

Mihalko at the meeting on February 24, 2017, which Plaintiff vehemently denied, and denies.

        35.     On or about March 13, 2017, Plaintiff received a letter in his school mailbox

from Mihalko, dated March 8, 2017, as a confirmation of a verbal warning accusing Plaintiff of

threatening him on February 24, 2017 and recommended harassment training for Plaintiff.

        36.    Mihalko's verbal warning letter to Plaintiff was forwarded to numerous Central

Office administration, which included Mihalko's supervisors.

        37.     Plaintiff responded with an email to Mihalko and all who were copied in

Mihalko's letter to Plaintiff on March 17, 2017.

        38.    For all pertinent times herein, Defendant Board was kept apprised of the action of

Mihalko via emails from and to Plaintiff and Mihalko and Human Resources for the Board.

        39.      On or about April 25, 2017, Plaintiff filed an amended CHRO complaint.


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          40.   On or about April 21, 2017, Plaintiff stopped one student from assaulting another

in the gymnasium by taking hold of the students arm as the student swung to punch.

          41.   Upon Plaintiff noticing he was on video camera, and of the understanding his

work environment was hostile under Mihalko, Plaintiff immediately released the student.

          42.    Plaintiff attempted to thwart the aggressive student without using any physical

intervention, which resulted in Plaintiff injuring his knee and being placed on Workman's Comp.

for approximately the last 7 weeks of the 2016-2017 school year.

          43.    Plaintiff for some time prior to 2017 worked as a part time stage hand for

concerts, but because of his knee injury he was unable to, resulting in a pecuniary loss.

          44.    At a CHRO fact-finding conference held on February 2, 2018, witnesses for the

Respondent (HBOE) gave a number of false statements and manipulated the facts which lead to

Plaintiffs CHRO complaint.

          45.    Between the dates of Plaintiff s filings with the CHRO and the CHRO fact     -
finding conference on or about February 2, 2018, individual(s) form the Hartford Board of

Education have engaged in tampering with Plaintiffs evaluation for the 2016-2017 school year in

order to cover-up the hostile treatment of Plaintiff.

          46.   Defendants’ actions caused Plaintiff to fear retaliation to the point where he was

injured

          47.   Defendants’ actions towards Plaintiff, as stated herein, had the effect of creating a

hostile work environment in violation the CFEPA, in that:




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               a.     Mihalko demeaned and threatened Plaintiff without justification stemming

       from his antagonism towards Plaintiff s disability,

               b.     Mihalko’s action were unwelcomed by Plaintiff and were not caused by

       Plaintiffs actions,

               c.      Mihalko’s actions were pervasive and ridiculing to the extent it materially

       altered Plaintiff s condition of employment, and

               d.      Plaintiff believed the workplace to be hostile.

       48.     As a result of Defendants’ actions, to wit, threatening and demeaning Plaintiff,

accusing Plaintiff of threatening Mihalko, causing Plaintiff to fear retaliation at work and

eliminating Plaintiff s job without justification, Plaintiff has suffered from severe mental and

emotional stress, that has lead to a number of physiological issues, to wit, sleeplessness, post

traumatic stress disorder, severe anxiety and has resulted in a loss of benefits and income to

Plaintiff all resulting from lost time at work and his physical injury sustained at work.



COUNT TWO - DISPARATE TREATMENT CFEPA. C.G.S $ 46a-60. et
                                                                                  seq . AS TO


THE BOARD AND CITY



        1-46. Paragraphs 1 through 46 of Count One of this Complaint are hereby incorporated

by reference, as if fully set forth herein, and made paragraphs 1 through 46 of Count Two.

        47.     Defendants’ conduct and actions against the Plaintiff constitutes disparate

treatment of Plaintiff, in violation of CFEPA.


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COUNT THREE - DISCRIMINATORY PRACTICE - AMERICANS WITH

DISABILITIES ACT AMENDMENT ACT. 42 U.S.C. § 12101. et seq . AS TO THE

BOARD AND CITY



         1-46. Paragraphs 1 through 46 of Count One of this Complaint are hereby incorporated

by reference, as if fully set forth herein, and made paragraphs 1 through 46 of Count Three.

         47.    Defendants’ actions and conduct towards Plaintiff in general, and specifically to

remove his earphones, despite medical recommendations to the contrary, constitutes

discrimination pursuant to ADAAA.



COUNT FOUR - HOSTILE WORK ENVIRONMENT - ADAAA 42 U.S. C. 8 12101. et

seq .   AS TO THE BOARD AND CITY



         1-46. Paragraphs 1 through 39 of Count One of this Complaint are hereby incorporated

by reference, as if fully set forth herein, and made paragraphs 1 through 46 of Count Four.

          47.   Defendants’ conduct and actions against Plaintiff, as stated herein, created a

hostile work enviromnent in violation of ADAAA.



COUNT FIVE - RETALIATION - CFEPA. C.G.S § 46a-60, et seq , AS TO MIHALKO




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       1-46. Paragraphs 1 through 46 of Count One of this Complaint are hereby incorporated

by reference, as if fully set forth herein, and made paragraphs 1 through 46 of Count Seven.

       47.     Defendants’ actions constitute a negligent infliction of emotional distress, in that,

               a.      Defendants knew or should have known that Mihalko’s actions and

conduct had an unreasonable risk of causing emotional distress to Plaintiff,

               b.      Defendants’ conduct was willful, wanton and malicious.



COUNT NINE - SLANDER AND LIBEL AS TO DEFENDANT MIHALKO

       1-46. Paragraphs 1 through 46 of Count One of this Complaint are hereby incorporated

by reference, as if fully set forth herein, and made paragraphs 1 through 46 of Count Eight.

       47.     Mihalko’s claims that Plaintiff threatened Mihalko, which Mihallco stated before

third parties, constitute slander, in that said statements were false and known to be false by

Mihalko.

       48.     Mihalko’s claims that Plaintiff threatened Mihalko, which Mihalko wrote to third

parties, constitute libel, in that said statements were false and known to be false by Mihalko.



COUNT TEN - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS AS TO

DEFENDANT BOARD AND CITY

       1-46. Paragraphs 1 through 46 of Count One of this Complaint are hereby incorporated

by reference, as if fully set forth herein, and made paragraphs 1 through 46 of Count Nine.




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        47.     Defendants’ actions constitute an intentional infliction of emotional distress, in

that,

                a.     Defendants knew or should have known that Mihalko’s actions and

conduct had an unreasonable risk of causing emotional distress to Plaintiff,

                b.     Defendants’ conduct was willful, wanton and malicious.



COUNT ELEVEN - DEPRIVATION OF RIGHTS - 42 U.S.C. S1983 AS TO THE

BOARD AND CITY

        1-46. Paragraphs 1 through 46 of Count One of this Complaint are hereby incorporated

by reference, as if fully set forth herein, and made paragraphs 1 through 46 of Count Six.

47.     Defendants’ conduct and actions against the Plaintiff constitute retaliation in violation of

42 U.S.C. §1983.




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RETURN DATE:
                                 n
                     JANUARY 7; 2019                                 SUPERIOR COURT

JOHN GRANDE                                                          J.D. OF HARTFORD

V.                                                                   AT HARTFORD

HARTFORD BOARD OF EDUCATION                                          JANUARY 7, 2019


                                 AMOUNT IN DEMAND

       The amount, legal interest or property in demand is in excess of FIFTEEN THOUSAND

($15,000.00) DOLLARS, exclusive of interest and costs.


                                          Respectfully submitted,
                                          PLAINTIFFS
                                          JOHN GRANDE
                                                                     —
                                          BY
                                                 Paul A. ICeily
                                                 KELLY MIRA LAW
                                                 968 Farmington Ave, Ste 208
                                                 West Hartford, CT 06107
                                                 Tel: (860) 251-9552
                                                 Juris No. 433252




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